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   EXHIBIT 1
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                       COMMONWEALTH OF PENNSYLVANIA
                             GOVERNOR’S OFFICE
                  PENNSYLVANIA HUMAN RELATIONS COMMISSION

                                       COMPLAINT

__________________________________________
                                          :
COMPLAINANT:                              :
                                          :
AMY GRABER                                :                      Docket No.
                                          :
v.                                        :
                                          :
RESPONDENTS:                              :
                                          :
UNIVERSITY OF PENNSYLVANIA                :
                                          :
and                                       :
                                          :
TRUSTEES OF UNIVERSITY OF                 :
PENNSYLVANIA                              :
__________________________________________:

   1. The Complainant herein is:

       Name:                        Amy Graber

       Address:
                                    Fairless Hills, PA 19030

   2. The Respondents herein are:

       Names:                       University of Pennsylvania; Trustees of University of
                                    Pennsylvania

       Address:                     235 S. 33rd Street
                                    Philadelphia, PA 19104

   3. I, Amy Graber, the Complainant herein, allege that I was subjected to unlawful

discrimination because of my sex (female) and my age (46).
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       Discrimination

           A. I specifically allege:

           [1]         I began working at Respondents on or about March 27, 2006.

           [2]         I last held the position of Associate Head Athletic Trainer.

           [3]         My birth date is        1976, and I am age forty-six (46).

           [4]         I consistently performed my job duties in a highly competent manner and

received positive feedback.

           [5]         I last reported to Emily Dorman (female, 38), Head Athletic Trainer.

Dorman reported to Brian Rudy Fuller (male, 55), Senior Associate Athletic Director.

           [6]         In June 2022, I received a positive performance review from Dorman.

           [7]         In June 2022, Dorman announced her resignation, effective June 22, 2022.

           [8]         After announcing her resignation, Dorman asked me if I was interested in

being promoted to the Head Athletic Trainer position that she would be vacating, and I said yes.

She appeared pleased that I was interested in the same.

           [9]         On June 18, 2022, in a meeting with Fuller, I expressed my interest in

being promoted to the Head Athletic Trainer position. Fuller stated that the position would be

posted, and I could apply for it.

           [10]        On June 17, 2022, I applied for the posted Head Athletic Trainer position.

I was qualified for the position.

           [11]        On July 11, 2022, I interviewed for the Head Athletic Trainer position

with Fuller, Joy DeJesus (female, 55), Associate Assistant Director, Kirsten Becker (female, 35),

Coach, and Cory Walts (male, 45), Coach for Strength and Conditioning. The interview seemed

more like an interrogation of my about my time management and managing employees, neither
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of which had been an issue for me, than it did a conversation about my qualifications and vision

for the Athletic Department.

           [12]          On July 15, 2022, in a phone call with Fuller, Respondents failed to

promote me to the Head Athletic Trainer position. The stated reason was that I did not make it to

the second round of interviews, and Respondents were going in a different direction. When I

asked what that meant, Fuller stated that the issues that I had outlined in my mission statement

regarding problems I wanted to address within the department were things that Respondents

already knew were issues.

           [13]          Instead of advancing me to the second round of interviews, Respondents

advanced Anthony Erz (male, 38), Head Football Athletic Trainer, and Vick Szwanki (male, 35),

an external candidate.

           [14]          Instead of promoting me, Respondents selected Erz (male, 38) for the

Head Athletic Trainer position.

           [15]          I was more qualified for the Head Athletic Trainer position, with longer

service time at Respondents, than the substantially younger, male employee Respondents

promoted instead of me.

           [16]          Without limitation, Erz was a position level beneath me when he was

promoted, and I had nearly double the amount of service time that Erz had with Respondents.

           [17]          The issues raised in Erz’s mission statement were very similar to the

issues that I raised in my mission statement, for which Fuller had unjustly criticized me.

           [18]          Respondents failed to promote me to the Head Athletic Trainer position

because of my sex and/or my age.
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             [19]        I was provided with no explanation, including the selection criteria, as to

why I was not selected for the Head Athletic Trainer position and the less qualified, substantially

younger male candidate was selected instead.

             [20]        On July 29, 2022, in an email to Fuller, I resigned from my employment

with Respondents, effective August 12, 2022.

             [21]        I resigned from my employment with Respondents because of the sex

and/or age discrimination to which I was subjected, including Respondents’ failure to promote

me because of my sex and/or age.

             [22]        Respondents made no effort to retain me as an employee.

             [23]        Before applying for a promotion, I had no indication that Respondents

found my performance deficient.

             [24]        I had no performance or disciplinary issues throughout my employment.

             [25]        Respondents’ sex and age discriminatory conduct toward me has caused

me emotional distress.

             B. Based on the aforementioned, I allege that Respondents have discriminated

against me because of my sex (female) and my age (46), in violation of Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”), the Age Discrimination

in Employment Act, as amended, 29 U.S.C. § 623 et seq. (”ADEA”), the Pennsylvania Human

Relations Act, as amended, 43 P.S. § 951, and et seq. (“PHRA”), and the Philadelphia Fair

Practices Ordinance, Phila. Code § 9-1101, et seq. (“PFPO”).

        4.      The allegations in Paragraph 3 hereof constitute unlawful discriminatory and

retaliatory practices in violation of:
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             X          Pennsylvania Human Relations Act (Act of October 27, 1955, P.L.

            744, as amended) Section 5 Subsection(s):       (a)__

            ____        Section 5.1 Subsection(s) _____________________________

            ____        Section 5.2 Subsection(s) _____________________________

            ____        Pennsylvania Fair Educational Opportunities Act (Act of July 17, 1961,

            P.L. 766, as amended) Section 4 Subsection(s) _____________________________

       5.        Other action based upon the aforesaid allegations has been instituted by the

Complainant in any court or before any other commission within the Commonwealth of

Pennsylvania as follows:

             X          This charge will be referred to the EEOC for the purpose of dual

            filing.

       6.        The Complainant seeks that Respondent be required to:

            (a) Make the Complainant whole.

            (b) Eliminate all unlawful discriminatory and retaliatory practice(s) and procedure(s).

            (c) Remedy the discriminatory and retaliatory effect of past practice(s) and

                 procedure(s).

            (d) Take further affirmative action necessary and appropriate to remedy the violation

                 complained of herein.

            (e) Provide such further relief as the Commission deems necessary and appropriate.
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                                        VERIFICATION


        I hereby verify that the statements contained in this complaint are true and correct to the

best of my knowledge, information, and belief. I understand that false statements herein are

made subject to the penalties of 18 P.A.C.A. Section 4904, relating to unsworn falsification to

authorities.




_____________________          ______________________________________________
(Date Signed)                  (Signature) Amy Graber

                                              Fairless Hills, PA 19030
